       Case 2:23-cr-00092-DLR Document 21 Filed 02/15/23 Page 1 of 2




 1
 2
 3
 4
 5
 6
                    IN THE UNITED STATES DISTRICT COURT
 7
 8
                                 DISTRICT OF ARIZONA

 9
     United States of America,                      No. CR-23-00092-PHX-DLR
10
                  Plaintiff,
11
           vs.                                               ORDER
12
     Roberto Lozano Partida, III,
13
                  Defendant.
14
15
16         This Court has read and considered defendant’s Motion to Reconsider
17   Conditions of Release (Doc. 13) and government’s Response to Motion to
18   Reconsider Conditions of Release (Doc. 17).
19
           A detention hearing may be reopened based on information “that was not
20
     known to the movant at the time of the hearing and that has a material bearing on
21
     the issue whether there are conditions of release that will reasonably assure the
22
     appearance of such person as required and the safety of any other person and the
23
     community.” 18 U.S.C. § 3142(f)(2). The Court has considered the motion and
24
     determined that, at present, there are no new circumstances warranting
25
     reconsideration of the detention order. Therefore,
26
27
28
       Case 2:23-cr-00092-DLR Document 21 Filed 02/15/23 Page 2 of 2




 1         IT IS ORDERED that the defendant’s Motion to Reconsider Conditions of
 2   Release (Doc 13) is denied.
 3         Dated this 15th day of February, 2022.
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
